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EXHIBIT E
Service              Account                                      Status 7/10/17   Notes 7/10/17    Status 7/18/17 Notes 7/18/17      Owner        Username                           Password                  Screenshot
G Suite              Admin                                        Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                 Michael's private password, unkown
                                                                                                                                                                                                                  https://www.awesomescreenshot.com/image/2599165/70115ab1dfb27b3de164939f9135b515
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G Suite              mdash@ndap-llc.com                           Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                 Michael's private password, unkown
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G Suite              mdash@carpartkings.com                       Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                 Michael's private password, unkown
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G Suite              mdash@coopersquare.ventures                  Confirmed                         Confirmed                         CSV          mdash@ndap-llc.com                 Michael's private password, unkown
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G Suite              mdash@coopersquareventures.com               Confirmed                         Confirmed                         CSV          mdash@ndap-llc.com                 Michael's private password, unkown
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G Suite              mdash@plumburs.com                           Confirmed                         Confirmed                         Plumburs     mdash@ndap-llc.com                 Michael's private password, unkown
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G Suite              michael@channelreply.com                     -                channelreply.com Confirmed
                                                                                                    was moved to ChannelReply's
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                                                                                                                                Inc CR
                                                                                                                                    G Suite
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                                                                                                                                               mdash@ndap-llc.com
                                                                                                                                                    This account no longer exisits.   Michael's private password, unkown
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G Suite              partners@ndap-llc.com                        Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                 Michael's private password, unkown
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G Suite              partners@plumburs.com                        Confirmed                         Confirmed                         Plumburs     mdash@ndap-llc.com                 Michael's private password, unkown
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G Suite              paypal@coopersqaureventures.com              Confirmed                         Confirmed                         CSV          mdash@ndap-llc.com                 Michael's private password, unkown
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G Suite              sales@carpartkings.com                       Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                 Michael's private password, unkown
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G Suite              sales@channelreply.com                       -                channelreply.com Confirmed
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G Suite              sales@nextdayautoparts.com                   Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                 Michael's private password, unkown
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G Suite              support@channelreply.com                     -                channelreply.com Confirmed
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                                                                                                                                               mdash@ndap-llc.com
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Bank Of America      Cooper Square Ventures                       Confirmed                         Confirmed                         CSV          ndaponline                         Michael's private password, unkown
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Bank Of America      NDAP                                         Confirmed                         Confirmed                         NDAP         ndaponline                         Michael's private password, unkown
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1Password            mdash@ndap-llc.com                           Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                 Michael's private password, unkown
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ChargeBee            michael@channelreply.com                     -                Moved to was moved
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Stripe               michael@channelreply.com                     -                Moved to was moved
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PayPal               michael@channelreply.com                     -                Moved to was moved
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UpWork               NDAP                                         -                                                                   NDAP         mdash@ndap-llc.com                 Michael's private password, unkown
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UpWork               Cooper Square Ventures                       Confirmed        Invite sent to MkesConfirmed
                                                                                                       email                          CSV          mdash@ndap-llc.com                 Michael's private password, unkown
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UpWork               Channel Reply                                Confirmed        Invite sent to MkesConfirmed
                                                                                                       email                          CR LLC       mdash@ndap-llc.com                 Michael's private password, unkown
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UpWork               Plumburs                                     Confirmed        Invite sent to MkesConfirmed
                                                                                                       email                          Plumburs     mdash@ndap-llc.com                 Michael's private password, unkown
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Zendesk              mdash@coopersquareventures.com               Confirmed                         Confirmed                         CSV          mdash@coopersquareventures.com Michael's private password, unkown
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Jira                 mdash@ndap-llc.com                           Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                 Michael's private password, unkown
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Slack                mikedash1@gmail.com                          -                Moved to was moved
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Amazon Seller Central mdash@ndap-llc.com                          Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                 Michael's private password, unkown
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eBay                 carpartkings                                 Confirmed                         Confirmed                         NDAP         carpartkings                                                 https://www.awesomescreenshot.com/image/2599265/28de46c26bc9ad7acd6cc05ea95e6d40
Timedoctor           mdash@ndap-llc.com                           Confirmed        Invite sent to MkesConfirmed
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Timedoctor           mdash@ndap-llc.com                           -                                                                   CR LLC       mdash@ndap-llc.com                 Michael's private password, unkown
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Amazon Web Services mdash                                         Confirmed                         Confirmed                         NDAP         mdash                              Michael's private password, unkown
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Amazon Web Services mdash                                         -                                 -                                 CR LLC       mdash                              Michael's private password, unkown
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American Express     ndapamexonline                               Confirmed                         Confirmed                         NDAP         ndapamexonline                     Michael's private password, unkown
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American Express     ndapamexonline2                              Confirmed                         Confirmed                         NDAP         ndapamexonline2                                              https://www.awesomescreenshot.com/image/2599298/31f415907c3a2ea1d374e28106018355
Magento              mdash                                        Confirmed                         Confirmed                         NDAP         mdash                              Michael's private password, unkown
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Quickbooks           Cooper Square Ventures (mdash@ndap-llc.com) Confirmed                          Confirmed                         CSV          mdash@ndap-llc.com                 Michael's private password, unkown
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Quickbooks           Car Part Kings (mdash@ndap-llc.com)          Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                 Michael's private password, unkown
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Quickbooks           ChannelReply (mdash@ndap-llc.com)            -                                 -                                 CR LLC       mdash@ndap-llc.com                 Michael's private password, unkown
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Quickbooks           Plumburs(mdash@ndap-llc.com)                 -                                 -                                 Plumburs     mdash@ndap-llc.com                 Michael's private password, unkown
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desk.com             N/A                                          -                I have no knowledge
                                                                                                    - of this accountI have no knowledge of this account                                                I have no knowledge of this account
GoDaddy              coopersquareventures (mdash@coopersqaureventures.com)
                                                                 Confirmed         Invite sent to MkesConfirmed
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GoDaddy              ndap (mdash@ndap-llc.com)                    Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                 Michael's private password, unkown
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GoDaddy              Plumburs (mdash@plumburs.com)                Confirmed        Invite sent to MkesConfirmed
                                                                                                       email                          Plumburs     mdash@ndap-llc.com                 Michael's private password, unkown
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GoDaddy              CR                                           -                                 -                                 CR LLC       mdash@ndap-llc.com                 Michael's private password, unkown
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MageMojo             dgitman@ndap-llc.com                         Confirmed                         Confirmed                         NDAP         dgitman@ndap-llc.com                                         https://www.awesomescreenshot.com/image/2599382/36905f7049c0bfe1281fa6c5f9c37197
MageMojo             dgitman@plumburs.com                         Confrimed                         Confrimed                         Plumburs     dgitman@plumburs.com                                         https://www.awesomescreenshot.com/image/2599384/2ab68ce648c762f8c10c0eb33d0a2175
MailChimp            mikedash1                                    Confirmed                         Confirmed                         NDAP         mikedash1                                                    https://www.awesomescreenshot.com/image/2599386/ca777c05afd6e4fe005493580baa612e
Github               mikedash1                                    Confirmed                         Confirmed                         NDAP         mikedash1                          Michael's private password, unkown
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Github               mikedash1                                    -                                 -                                 CSV          mikedash1                          Michael's private password, unkown
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Github               mikedash1                                    -                                 -                                 CR LLC       mikedash1                          Michael's private password, unkown
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Ringcentral                                            6465535918 Confirmed                         Confirmed                         NDAP                                            Michael's private password, unkown
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join.me              N/A                                          -                I have no knowledge
                                                                                                    - of this accountI have no knowledge of this account                                                I have no knowledge of this account
